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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

 

 

TERRE HAUTE DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, § _
V. § y CAUSE NO. 2218-mj-0f)008-CMM
TIFFANY NICOLE DEAN, §
Defendant. §

PENALTY SHEET

You have been charged in a Complaint With a violation of the Laws of the United States
of America. The maximum penalties are as follows:

 

Supervised
Count Nurnber Statute Years Fine Release
l 18 U.S.C. § 922(a)(6) 0-10 $250,000 Up to 3 years

False Staternent During
Purchase of a Firearrn

Dated:

 

 

TIFFANY NICOLE DEAN
Defendant

l certify that the Defendant Was advised of the maximum penalties in the manner set forth
above and that he signed (or refused to sign) the acknowledgement

 

United States Magistrate Judge
Southern District of Indiana

